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Case 2:11-cv-12422-AC-MKM ECF No. 129-2, PagelD.2065 Filed 07/28/14 Page 2 of 4
OFIR Insurance Entities Authorized to do Business in Michigan http://www.dleg,state.mi.us/fis/ind_srch/ins_comp/all_company _list.asp

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MICHIGAN.GOY

Michigan's
e Official
Web Site

Michigan.gov Home
<Enter New Search Criteria for Insurance Entities>

OFIR Insurance Entities Authorized to do Business in Michigan
You searched for Insurance Entities with values Insurance Entity contains nationwide life insurance

State of Ownership

Insurance Entity NAIC # Domicile Type

NATIONWIDE LIFE INSURANCE COMPANY 66869 OH Stockholder
1 W Nationwide Blvd # Dspf 76
Columbus, OH 43215-2220

Top of Page

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NAIC Consumer Information Source

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National Association of

POLICY

Insurance Commissioners ad RESEARCH

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acti iis

Nationwide Life Ins Co
Home Office: Ohio

Business Type: Life, Accident, and Health
Other Reports: Complaints Financial Information

NAIC#: 66869

Company Search Help

Below is information supplied by Nationwide Life Ins Co per their most recent

ara varie

https://eapps.naic.org/cis/writingReport.do?entityId=7244

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i[ Search |

NATIONWIDE LIFE INS CO

LICENSED STATE REPORT
YEAR END 2011

annual filling. For more information, please refer to the Help.

State

Alabama

Alaska

American Samoa

Arizona

Arkansas

California

Colorado

Connecticut

Delaware
District Of Columbia

Florida
Georgia
Guam
Hawaii
Idaho
Tilinois
Indiana
Towa

Kansas

Kentucky

Louisiana

Maine

Maryland

Massachusetts

Michigan

Minnesota

Mississippi

Missoun

Montana

Nebraska

Nevada

New Hampshire

New Jersey

Active
Status

Perr re Pr Pee PP ree Pe ee ere Per ree rr rr rrr e2@ee

Direct Business
Written
$134849890
$15472685
$95284
$354701876
$101813259
$1280492242
$183334697
$177690461
$329163527
$25041214
$1051447280
$259456729
$6802439
$91908864
$74989682
$537710512
$224161697
$65876084
$84755719
$134901269
$138952285
$36571008
$241609419
$361917259
$373776286
$179427801
$27098053
$161591782
$17282830
$66119988
$60033151
$99676312
$451495581

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Company Search for Complaint
and Financial Information

Company Name or Company Code
*

Business Type:

[All

[ Find a Company |

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LEPOPPEL

Se

GRID is a voluntary database provided
by the state insurance departments to

report information on insurer

receiverships for consumers, claimants,

and guaranty funds.

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2 of 2

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NAIC Consumer Information Source

New Mexico
New York

North Carolina

North Dakota

Northem Mariana Islands

Ohio
Oklahoma
Oregon
Pennsylvania
Puerto Rico
Rhode Island

South Carolina

South Dakota
Tennessee

Texas

U.S. Virgin Islands

Utah
Vermont
Virginia
Washington
West Virginia
Wisconsin

Wyoming

$41053291
$1331478813
$287259578
$25447619
$0
$922894389
$93679559
$117930374
$753805505
$29227050
$62404660
$98250759
$16735031
$221335366
$641473156
$3895310
$48613137
$22305802
$215759294
$244227550
$56446886
$218279278
$9988729

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Legend for Active Status column

L - Licensed or

Licensed Carrier and Domiciled Risk Retention
‘Chartered Grou, In some states referred to as
dmitted.
R- Registered |lNon-domiciled Risk Retention Group
E - Eligible

urplus Lines in the state. In some states
referred to as non-admitted.

Burk Entities eligible or approved to write

IN - None of the
labove

Not allowed to write business in the state.

IQ - Qualified
Reinsurance

P-" - Unknown

Status could not be determined

OLTPPROD

https://eapps.naic.org/cis/writingReport.do?entityld=7244

Report Date: 12/06/2012

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